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i United States District Court
‘i Central District of California
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12 || Mahaffey Law Group, P.C. )
“ ) Case No.8:19-CV-01920-DOC-DFM
)
) Memorandum Of Points And Authorities In Support
14 Plaintiff )
7% ) Defendants Motion To Dismiss F.R.C.P. 12(b)(6)
- )
)
16 || VS )
) Date: December 2, 2019
17 || Steven E Paganetti )
) Time: 8:30 A.M.
18 )
Defendant ) Dept: 9D
19 )
Pr ) Judge: David O. Carter
31 Defendant Steven E Paganetti (“SEP”) hereby submits the following memorandum of points and

22 || authorities in support Motion to Dismiss the second, fourth and fifth causes of action of Plaintiff

23 Mahaffey Law Group P.C. (*MLG”) complaint .

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l. Memorandum Of Points and Authorities In Support of 12(b)(6) Motion

 

 
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I. Introduction

This is a classic case of the plaintiff making up allegations as it goes along to see if any of it
sticks in direct violation of the duty to investigate under rule 11. The result is the direct
contradictions of facts and inconsistent facts contained in the original verified complaint and now
the first amended complaint which is the subject of the present motion.

On February 7, 2019, Plaintiff MLG filed a verified complaint against defendant Paganetti in
the Superior Court of California, County of Orange, case number 30 — 2019— 01068776 — CU — FR
—CJC (* Complaint’). Plaintiff claims were for:(1) Recovery of Foreclosure On Attorneys Lien
On Escrow Settlement Proceeds and (2) Fraud.

On June 20, 2019 defendant Paganetti removed the action to the United States District Court
Central District of California case number 8:19-cv-01231-AG-JC based upon U.S.C. Section
1332(a). Sep filed a 12b(6) motion to dismiss on the second cause of action for fraud.

Prior to the 12(b) motion to dismiss being heard, on July 15, 2019 MLG filed a first amended
complaint for recovery of foreclosure on attorney lien on escrowed proceeds; fraud: fraud by
ratification of fraud by Wild Carter & Tipton; breach of contract and conversion. The first amended
complaint added non-—diverse party Wild, Carter & Tipton. (*WCT”). SEP filed a 12(b)(6) motion
to dismiss the Second through fifth causes of action of the first amended complaint.

Prior to the 12(b)(6) to dismiss causes of action two through five of the first amended complaint
being heard, on September 4, 2019 after MLG's motion for remand the court ordered the case
remanded to the state court. On September 5, 2019 MLG filed a first amended complaint in Orange
County Superior Court case number 30 — 2019— 01068776 (“FAC”) for recovery of foreclosure on
attorney’s lien on escrowed settlement proceeds; fraud: fraud by ratification of fraud by WCT,

breach of contract and conversion.

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MLG on September 20, 2019 within two weeks of the order remand filed a notice of dismissal
without prejudice against defendant WCT.

The motion to dismiss is directed to MLG second cause of action for fraud, fourth cause of
action for breach of contract and fifth cause of action for conversion are based upon the same
factual allegations and claims which were claimed by MLG as affirmative defenses to SEP cross
complaint in prior legal action entitled MLG vs SEP Orange County Superior Court Case Number
30-2018-009666625. (“Legal Action’). Judgment in the legal action was entered on November 28,
2018 after MLG filed its notice of acceptance of SEP CCP Section 998 offer to compromise filed on
November 21, 2018. Accordingly, MLG claims in the second, fourth and fifth causes of action are
barred by the doctrines of res judicata. Further, the second, third and fifth causes of action are
barred by the three-year statue limitations pursuant to California Code of Civil Procedure Section
338 (c)(d). Additionally, the second, fourth and fifth causes of action are barred by California Code
of Civil Procedure Section 426.30 which required MLG to litigate all of its claims in the prior legal
action. The second, fourth and fifth causes of action fail to state a claim as a matter of law.

For the reasons stated below the second, . fourth and fifth causes of action should be dismissed
without leave to amend.
Il. Summary of Factual Allegations

On August 18, 2015, SEP commenced work for MLG under the terms ever written agreement
which included in part the following: “as to the contingency fee cases the proposed arrangement is
that MLG will substitute in but will not pay any cost which it sounds like will not be a problem, if
we need to advance cost, you will arrange the advancement unless it is [an] emergency
circumstance, which we will then cover it, if you or the client cannot. For any files to recover 40%

on the fee on, MLG Will receive 12.5%, for any files you recover 33.33% MLG will receive 10% .

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This is the normal arrangement I make unless I have to try the case, if I have to try or if we elect
that I try the case we will then split the fee 50/50..... As you know for the contingency peak cases,
we have to advise the clients of the fee arrangements and have them sign law. If there becomes an
issue with any of them, we will work in good faith try to resolve this issue.”

MLG alleges SEP brought the Sanford case with him to MLG from WCT and that SEP told
Mahaffey that there was a standard 1/3 fee agreement with WCT which has been fully executed by
both WCT and Sanford. Sanford was a plaintiff and cross-defendant in the action. ( In reality, as
stated in the fee agreement with WCT Sanford was a defendant and cross-complainant in the
action.) SEP was the primary attorney on the Sanford litigation, which was a complaint against First
American Title seeking recovery of $270,000 dollars of escrow funds. Mahaffey requested SEP to
obtain ratification of the WCT contingency fee agreement with MLG by entering into a new
agreement that honored the same terms of that standard 1/3 fee agreement with Sanford. On
November 16, 2015 SEP created and sent him an unauthorized letter to Sanford that purported to
ratify the WCT fee agreement based on the false pretenses it has been signed at WCT and has been
fully approved by MLG.(“Exhibit 2”). Exhibit 2 stated in part: “‘attached as Exhibit 1 is your prior
attorney representation agreement, by execution of this letter this will confirm that your prior
agreements dated May 15, 2015 and July 19, 2015 applying to the following matters with MLG
taking over your representation under the same terms and conditions.” MLG claims the contents of
exhibit 2 containing a prepaid contention defense fee arrangement was not disclosed to MLG and
was not approved by MLG and was sent by SEP with no authority from MLG.

On or about January 6, 2016, SEP advised Mahaffey that the Sanford litigation matter had
settled and was ready to close and that based on the excellent results in limited amount of time it

was ultimately required to close the file, SEP had agreed to reduce the total fee to a 27.5%

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contingency fee, for a total of $73,326 and MLG was entitled to a 10% referral fee in the amount of

$7332.60. The case on the remaining claims were set for trial on September 27, 2017. MLG alleges
it submited to SEP a substitution of attorney's which it is claimed SEP refused to sign and claims
falsely in an email that he agreed to continue with the case. ( In reality, the email containing the
representation SEP was willing to go forward with the representation of Sanford was sent by the
client Sanford.)

MLG advised Sanford not to use SEP and to use MLG. MLG modified the terms of the fee
agreement by agreeing to accept all of the attorneys fees recovered in the case. MLG obtained a
judgment including attorneys fees in favor of Sanford in the amount of $118,762 which MLG is
now claiming is uncollectible. MLK is seeking damages for part of the contingency fee distributed
to SEP and recovery of the defense cost awarded.

Ill. Statement Of Facts

In 2018, MLG in the prior legal action filed an answer and amended answer to SEP cross-
complaint for breach of his employment agreement with MLG including causes of action for breach
of contract, intentional fraud, concealment, false promise without intent performing, waiting time
penalties, unjust enrichment and alter ego. The underlying factual allegations included a failure by
MLG to pay SEP money to under the terms of a written employment agreement and false
representation/concealment by MLG which served as an inducement for SEP to start employment
with MLG. The answer and amended answer to the cross-complaint filed by MLG both contained
affirmative defenses including estopple, unclean hands, offset, failure to perform an alleged
contract, concealment of material facts, failure of consideration, conversion of proceeds and failure
to perform.

Both answers contained the following affirmative defenses and allegations:

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Unclean Hands: SEP has come into this court with unclean hands and as a consequence thereof,

 

SEP is barred from recovery herein;

Offset: cross-defendant possesses legal and equitable rights of offset for claims existing against

 

SEP.

Failure to perform an alleged contract: SEP failed to perform any of the promises made to cross-
defendant at the time of retention including, but not limited to, working a great number of hours,
generating clients that paid their bills, collecting on bills that SEP generated, failing to exercise the
standard of care in working for clients causing cross-defendant to have to duplicate and provide
legal services to remedy mistakes made by SEP, misrepresenting the amount of time SEP worked on
files, entering false information on time sheets as to work performed or not performed by SEP.
concealing information as to the activities that SEP was performing behind a constantly closed
office door, concealing the type and nature of disputes in litigation SEP was handling, that had no
profitability and should have never been filed by SEP, and many other instances materially
breaching the promises made by SEP that induced his hire and induce cross-defendant not to
terminate him.

Concealment of material facts; SEP concealed multiple material facts in inducing his hiring
including, but not limited to, misrepresenting his ability to generate new clients, misrepresenting the
quality of clients he had, misrepresenting his skill set as an attorney, and misrepresenting his ability
to perform and bill a minimum amount of agreed hours. On numerous occasions, cross-defendants
discovered that SEP was incompetent in handling is legal work causing severe conflict with
multiple clients, including causing cross defendant to have to write off thousands of dollars of billed

time.

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Failure of consideration: SEP conduct and performance completely deprived cross-defendants of

 

all consideration that was to be exchanged to cross-defendant for the compensation that was
discussed with SEP when SEP was hired. The lack of consideration includes, but is not limited to,
the failure of SEP to generate profitable clients leaving cross-defendant with hundreds of the
thousands of dollars of work for free for several clients that SEP brought in and abandoned on the
eve of their trials, and causing cross-defendants to have to remedy multiple legal errors.

Conversion of proceeds: SEP stole the fees paid by several clients that were to be paid to cross
defendant for both settlements and payments for time billed or to be billed.

On August 29, 2017 MLG sent a letter to SEP threatening to sue and outlining factual
allegations which are nearly identical to the factual allegations contained in the second, fourth and
fifth causes of action MLG first amended complaint. The August 29, 2017 letter is attached as
Exhibit 8 to MLG’s FAC,

The factual allegations in the August 29, 2017 letter were included in MLG discovery responses
regarding affirmative defenses in the legal action including the following:

Special interrogatory number two: (partial response as follows) this defense is premised on
defendant’s misappropriating Sanford's settlement proceeds in violation of the Cannons of Ethics
where there was no fee splitting that was agreed to in writing by the client, and through complete
misrepresentation and a forged signature on the letter that approved the fee agreement.

Special interrogatory number three; (partial response as follows) This defense is premised on
defendant’s misappropriating Sanford's settlement proceeds in violation of the Canons of Ethics
where there was no fee splitting that was agreed to in writing by the client, and through complete

misrepresentation and a forged signature on a letter that approved the fee agreement.

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MLG accepted SEP California Code of Civil Procedure Section 998 offer to compromise filed
on November 21, 2018 incorporated into a judgment filed on November 28, 2018 resulting in the
court dismissing the cross complaint after the occurrence of the following: MLG demand letter
dated August 29,2017 containing claims and allegations identical to second, fourth and fifth causes
of action in the first amended complaint; MLG filing an answer and the amended answer to the
cross-complaint containing allegations of wrongful conduct similar to claims in the FAC and
serving discovery responses containing factual responses similar if not identical to claims in the
FAC.

IV. Legal Argument
A. MLG Second, Fourth and Fifth Causes Of Action Are Barred By The Doctrine Of Res
Judicata and California Code of Civil Procedure Section 426.30.

The doctrine of res judicata is intended to prevent multiple litigation causing vexation and
expense to the parties and wasted effort and expense in judicial administration by precluding parties
from relitigating issues they could have raised in a prior action concerning the same controversy.
Panos v Great Western Packing Co.(1943) 21 Cal 2d.636,637. The court may take judicial notice in
support of a rule 12(b)(6) motion. Valerio v. Boise Cascade 80 F-R.D.626,635n.1(N.D. Cal 1979)
afford 645 f£.d.699 (9th Cir). In determining the issue of res judicata California State Law should be
applied. Marrese v American Academy of Orthopedic Surgeons (1985) 470 U.S, 373. Further, in
determining whether a second complaint states a new cause of action California courts apply the
primary rights theory, under which the invasion of one primary right gives rise to single cause of
action. Slater v Blackwood (1975) 15 Cal 3d 791,795. The most important criteria in determining
that two suits concern the same controversy is whether they both arose from the same transactional

nucleus of facts. Nakash v Superior Court (1987) 196 Cal App.3d 59,68. If so, the judgment in the

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first action is deemed to adjudicate for purposes of this second action every matter which was
urged, and every matter which might have been urged. Panos, supra at p.638. Res Judicata
precludes parties from splitting a cause of action into a series of suits in piecemeal litigation, since it
operates as a bar not only when the grounds for recovery in the second action are identical to those
pleaded in the first but also where different theory or request for relief is asserted. McNulty v Copp
(1954) 125 Cal App 2d 697,705.

California Code of Civil Procedure Section 426.30 serves the same purpose as the doctrine of
res judicata by requiring the settlement in a single action of all conflicting claims between the
parties arising from the same transaction. Section 426.30 does not operate to bar issues previously
litigated: rather, it applies to related causes of action which were not litigated in a prior action
between the parties..

Section 426.30, subdivision (a), provides that “if a party against whom a complaint has been
filed and served fails to allege in a cross-complaint any related course of action which (at the time
of serving his answer to the complaint) he has against the plaintiff, such party may not thereafter in
any legal action assert against the plaintiff the related cause of action not pleaded.” As used in the
compulsory cross-complaint statute, the term “complaint” includes both a complaint and cross-
complaint (section 426.10 (a)), and the term “plaintiff” includes both a plaintiff and cross-
complainant (section 426.10(b)). The phrase “related causes of action” in section 426.30 is defined
as “a cause of action which arises out of the same transaction, occurrence, or series of transactions
or occurrences as the cause of action which the plaintiff alleges in his complaint.” (section 426.10
(c)). The term transaction is construed broadly and is not confined to a single, isolated act or

recurrence but may embrace a series of acts or occurrences logically interrelated. Saunders v. New

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Capital For Small Businesses, Inc. (1964) 231 Cal App.2d 324,336. Curry Medical Specialties, Inc.
v. Bowen (1982) 231 Cal App.3d 774,777.

In interpreting the relatedness requirement the court in Curry Medical Specialties, Inc, found
guidance in federal decisions construing the compulsory counterclaim statute found in /-R.C.P. Rule
13/a), and held that the relatedness standard does not require an absolute identity of factual
backgrounds for the two claims, but only a logical relationship between them. The logical
relationship approach is the majority rule among the federal courts. The word transaction in Rule
13(a) cannot be read in such a restrictive sense as to limit compulsory counterclaims in an action for
breach of contract to those addressed to the specific breach on which a plaintiff bases his claim for
breach. The spirit and intent of Rule /3/a) requires that the entire contractual relationship be
deemed to be included within the word “transaction” . King Bros. Productions, Inc. v. RKO
Teleradio Pictures,Inc. 208 F.2d 271,275( S.D.N. ¥.1962).

In Currie Medical Specialties , supra, Curry Medical Specialties, Inc., and Newell Bowen,
both distributors of labels to hospitals, contracted for Currie to stop selling its labels and instead sell
Bowen’s labels. A year later, Bowen sued Currie in federal court for unfair competition and
violation of the Landham Act alleging Currie usurped Bowen’s business during their contractual
relationship. In its answer, Currie alleged Bowen was estopped from asserting his claims because he
breached their agreement and made misrepresentations. The case was ultimately dismissed.
Curry,supra at p. 775-776.

In Allign Technology Inc. v. Tran(2009) 179 Cal App. 4th 949, Align an employer sued it’s
employee Tran alleging Tran was hired to protect its intellectual property but instead
misappropriated it, competed against Align, and made unauthorized charges to Align’s accounts,

thereby breaching his employment agreement and the duty of loyalty. Tran cross-complaint, alleged

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Align had wrongfully terminated his employment and breached a stock option agreement. In its
answer to Tran’s cross-complaint, Align alleged Tran’s claims were barred under the doctrine of
unclean hands and estopple based on Tran’s own acts or omissions. The lawsuit was ultimately
settled and was dismissed.

Two years later, Align again sued Tran alleging he had breached his contract with Align, used
company funds to assist a competitor, and misappropriated Align’s patents. Align, supra at p.955.
The court held Align’s present claims arose out of the same employment relationship and concerned
the same breaches of reciprocal obligations as were the subject of Tran’s earlier cross-complaint.
Further, Align had alleged in an earlier answer to Tran’s cross-complaint the same misconduct as it
now alleged in the current complaint. The court found Align’s current claims were therefor logically
related to Tran’s cross complaint, and were barred because Align failed to file a cross complaint in
the earlier case. Align,supra, p.965.

In Saunders, supra, 231 Cal App 2d, 324, New Capital For Small Businesses, Inc (“New Capital”)
sued Saunders on a common count to recover $14,000 Saunders had misappropriated. In his answer,
Saunders alleged he was entitled to the money by reason of services he had rendered the company
in selling it stock and raising working capital. The lawsuit was ultimately resolved in New Capitals
favor. Saunders, supra, p. 327 — 328.

A year later Saunders sued New Capital for quantum meruit for $14,000 alleging it was owed
him for services performed in connection with providing a loan to a third-party. Saunders, supra. p.
326.

The court held that even though the services for which Saunders alleged he was owed payment were
different in the two actions-selling stock and the first action versus providing a loan in the second

the foundation of both claims was the party relationship and right to recovery flowed from the same

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relationship thereby barring Saunders lawsuit because of failure to file a cross complaint in the
earlier action.

Accordingly, all of the claims in the FAC were raised as affirmative defenses in the legal action
and claims in the FAC are all logically related to the employment agreement between SEP and
MLG, breach of contract and tort claims raised by SEP in the cross-complaint. Therefore, section
426.30 and the doctrine of res judicata bars each claim in the FAC which is the subject of this
motion to dismiss.

In Eichman vy, Fotomat Corp.(1983) 147 Cal App. 3d 1170, the court made the following
statement: “The Eichman’s final contention, judgment in the first action is not res judicata because
it follows a settlement rather than a trial, is absurd. Such or rule would allow a plaintiff to accept the
settlement from the defendant and then turn around and sue again. For this reason, the judgment
following a settlement bars future actions to the same extent has a judgment entered after a full trial.
In the present case MLG accepted the benefits of CCP Section 998 offer to compromise.

The court may take judicial notice in support of a rule 12(b)(6) motion. Valerio v. Boise Cascade
80 FR.D.626,635n.1(N.D. Cal 1979) afford 645 f.d.699 (9th Cir)
In the present case the doctrine of res judicata and section 426.30 should apply to MLG’s causes

of action for fraud,breach of contract and conversion because the parties were the same and, a

judgment was rendered in the case based upon MLG acceptance of defendant’s CCP 998 offer to

compromise. Further, the factual issues raised as a affirmative defenses are the the same as stated in
the second, fourth and fifth causes of action and/or could have been raised since the cross complaint
involved the employment of SEP by MLG and same claims in the second, fourth and fifth causes of
action were outlined in a demand letter prior to the legal action being filed. Accordingly, all of the

claims in the FAC were raised as affirmative defenses in the legal action and claims in the FAC are

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all logically related to the employment agreement between SEP and MLG, breach of contract and
tort claims raised by SEP in the cross-complaint. Therefore, section 426.30 and the doctrine of res
judicata bars each claim in the FAC which are the subject of this motion to dismiss.

B. MLG Claim Of Fraud and Conversion Are Barred By The Three-Year Statue
Limitations CCP Sections 338 (c)(d).

A fraud lawsuit is required to be filed within three years before plaintiff either discovered facts
constituting the fraud or with reasonable diligence could have (should have) discovered those facts,
whichever comes first. Kline v Turner (2001) 87 Cal App.4th 1369,1374. California Code of Civil
Procedure Section 338(d). An act of conversion must be filed within three years under California
Code of Civil Procedure Section 338(c).

In the present case MLG has attached as Exhibit 6 to its complaint a letter dated January 6,
2016, to John C. Sanford signed by Douglas Mahaffey containing statements of the conclusion of
this litigation matter with First American Title Insurance Company and “pursuant to your
ratification of the Mahaffey Law Group fee agreement, you have confirmed that Mahaffey Law
Group is entitled to the distribution of 33.33% of the proceeds for the net sum of $73,326. You have
recognized that there is a separate fee split involving Mr. Paganetti and this firm, that you have
previously agreed to.” To the extent MLG is claiming any fraud or misrepresentation regarding
forging Douglas Mahaffey signature on the ratification of the fee agreement correspondence dated
November 16, 2015(exhibit 4 to MLG complaint) or any claims regarding misrepresentation
regarding the content of the contingency fee or conversion of the contingency fee those claims are
barred by the three year statute of limitations because the action was filed on May 7, 2019 more

than three years after the above January 6, 2016 correspondence to John Sanford.

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MLG’s claims entitlement to delayed discovery based upon the conclusionary allegation it did not
discover the alleged fraud until August 11, 2017 when SEP left employment with MLG. A plaintiff
who claims delayed discovery must plead facts showing: (a) lack of knowledge:(b) lack of the
means of obtaining knowledge (in the exercise of reasonable diligence the facts could not have been
discovered at an earlier date),(c) how and when the plaintiff did actually discover the fraud . Fox
v. Ethicon Undo-Surgery, Inc. (2005) 35 Cal. 4th 797,808. Baker v. Beech Aircraft Corp. (1979) 96
Cal App.3d, 321,327-328. These necessary allegations are lacking in MLG’s claims for fraud and
conversion,

Under the delayed discovery rule, “a cause of action accrues and statue of limitations begins to
run when the plaintiff has reason to suspect an injury and some wrongful cause. Fox, supra p.803. A
plaintiff has reason to discover a cause of action when he has reason at least to suspect a factual
basis for its elements. Fox,supra p. 807. The limitations. begins to run no later than the time the
plaintiff learned, or should have learned, the facts essential to his claim. Gutierrez v. Mofid (1985)
39 Cal 3d 892, 897. So long as a suspicion exists, it is clear that the plaintiff must go find facts and
cannot wait for facts to find him. Jolly v. Eli Lilv& Co.(1988) 44 Cal 3d 1103, 1112. Once put on
inquiry notice, plaintiffs are required to conduct a reasonable investigation and are charged with
knowledge of the information that would have been revealed by such investigation. Fox,supra at p.
808.

In the present case, MLG’s FAC has attached as Exhibit 6 a letter dated January 6, 2016, to

Sandford signed by Douglas Mahaffey containing statements of the conclusion of litigation with
First American Title Company (“FATC”) and acknowledgment of the ratification of the MLG fee
agreement confirming 33.33% of the proceeds for distribution to MLG. The title of the letter was

“Sanford v. Sanford.et al, OCSC Case No: 30-2015-00767156; Settlement with FAC. Any attorney

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looking at the heading would be put on inquiry notice there were additional parties who had not
settled the case. Paul Sandford was the plaintiff who sued the client John Sandford and FAC for
damages and declaratory relief, breach of statutory duty, conversion, fraud, bad faith, injunctive
relief. John Sanford filed a cross-complaint against Paul Sandford and FAC for breach of
promissory note, breach of implied covenant of good faith and fair dealing, fraud, reformation of
deed of trust, conversion, breach of fiduciary duty, accounting and declaratory relief.

MLG only needed to look to the complaint and cross complaint to determine the fact the case did
not settle as to all of the parties. Obviously, MLG through Douglas Mahaffey looked through the
litigation files in order to obtain the case number and the name of one of the defendants.
Accordingly, the statute began to run on January 6, 2016 the the date Douglas Mahaffey sent the

letter to Sandford more than three years prior to the filing of the original complaint on February 7,

2019.

C. MLG Second Cause Of Action For Fraud Fails To State A Claim

Dismissal under Federal Rule of Civil Procedure Rule 12 (b)(6) is proper when the complaint
either (1) lacks a cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable
legal theory. Somers v Apple 729 F; 3d 953,959.(9th Cir. 2013). To survive a motion to dismiss, a
complaint must contain sufficient factual matter to state a claim to relief that is plausible on its face.
Ashcroft v Igbal, 556 U.S.662 (2009). Fraud — based allegations are governed by Federal Rule of
Civil Procedure Rule 9(b) demands that, when averments of fraud are made, the circumstances
constituting the alleged fraud be specific enough to give defendants notice of the particular
misconduct so they can defend against the charge. Vess v Ciba-Geigy Corp. USA, 317 F:3d

1097,1106 (9h Cir. 2003). Fraud allegations must include the “time, place, and specific content of

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the false representations as well as the identities of the parties to the misrepresentations”. Swartz v
KPMG LLP.476 F.3d 756,764,(9th Cir.2007). In other words, averments of fraud must be
accompanied by the who, what, when, where, and how of the misconduct charged. Vess, supra at p.
1107.

A plaintiff must plead and prove the following elements to state a claim for misrepresentation as
follows: (1) a material misrepresentation of fact; (2) knowledge of the falsity when statement made:
(3) intent to defraud;(4) justifiable reliance; and (5) resulting damage. Engalla v Permanente
Medical Group, Inc.(1997) 15 Cal.4th 951.

MLG is apparently contending it did not read the contingency fee agreement between WCT and
Sanford and there is no allegation of inability to have read the agreement. For fraud purposes,
failure to read the agreement coupled with a reasonable opportunity to do so, renders reliance as
unjustifiable. Rosenthal v.Great W. Fin. Sec.Corp.(1996) 14 Cal. 4th 394,424. Further, there can be
no justifiable reliance because the employment agreement between MLG and SEP states MLG is
only entitled to receive a referral fee of 10% on a contingency fee cases originated or handled by
SEP. There is no allegation the subject fee alleged to be misrepresented was not a fee which was due
under the terms of the employment agreement.

Further, the complete email regarding the employment agreement was not attached by MLG to
any of the prior complaints including the FAC. The complete emails were attached in the cross-
complaint filed by SEP in the earlier legal action and is part of request for judicial notice number
one. The two emails include one from SEP to Mahaffey dated August 18, 2015 at 1:41 PM which
included a list of cases in which MLG would be substituting in as council including “Paul Sanford
vs First American Title and John Sanford (our client)”. Mahaffey sent a confirmation email on

August 18 2015 at 2:18 p.m. Accordingly, MLG had knowledge John Sanford was a defendant in

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the case entitled vs John Sanford v. First American Title.. Any claims regarding misrepresentation
by plaintiff regarding misrepresentation of providing a defense cannot survive because plaintiff
cannot claim justifiable reliance based on this notice. Also, the representation agreement clearly
states representation is being provided to John Sanford on claims the cross complaint.

The FAC further fails to completely disclose that after SEP terminated his employment with MLG
that MLG notified Sanford he would continue to represent him and that thereafter MLG through
Mahaffey actively solicited Sanford to remain as the attorney of record and negotiated a
modification to the existing agreement to allow MLG to recover all of the attorneys fees recovered
in the case while confirming all of the other terms. accordingly, there can be no justifiable reliance
by MLG because of the confirmation of the prior fee agreement which is the subject of the fraud
allegations.

D. Plaintiff Cannot Maintain a Cause Of Action For Breach of Contract

Under California law, the elements of a breach of contract claim are:(1) the existence of a valid
contract between the parties;(2) plaintiffs performance:(3) defendant’s unjustified or unexcused
failure to perform; and (4) damages to plaintiff caused by the breach. Careau & Co. v Security
Pacific Business Credit, Inc., (1990) 222 Cal App 3d 1371,1388.

Paragraph 125 of the first amended complaint alleges: “On or about January 6, 2016 Paganetti
breached the terms of the fees splitting agreement by not releasing the entire one third fee 90,018
that John Sanford had agreed to pay from the FATCO settlement in the amount of 270,000.

Firstly, the only agreement alleged is one for fee split where Mahaffey would receive 10%.
There are no other agreements alleged where MLG would be entitled to receive any other amount.
Without an agreement there can be no breach and in this case MLG agreed to the amount which was

confirmed in the letter between MLG and John Sanford in the amount of $73,326 (exhibit 5 )to the

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first amended complaint. MLG was entitled to 10% of the amount of $7,332. which is what it
received.
E. MLG Fails To State a Claim For Conversion
In order to establish a cause of action for conversion a plaintiff must establish actual
interference with his ownership or right of possession. Where the plaintiff neither has title to the
property to be converted nor possession thereof, he cannot maintain an action for conversion. Moore
v. Regents of the Univ. Of Cal. (1990) 51 Cal 3d 120,126. In the present case MLG has merged
several concepts a of contract and misrepresentation in this cause of action none of which establish
it had title to any of the money of the fee split between MLG and SEP which was distributed to
Paganetti. Further, for the same reasons set forth in subparagraph F there was no agreement for
MLG to receive anything other than the 10% it agreed upon in the agreement with SEP and amount
received from the FATCO settlement.
IV. Conclusion
Based upon the above it is respectfully submitted the motion to dismiss the second, fourth and fifth

cause of action should be granted without leave to amend.

Date: 10/9/19

 

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Steven E Paganetti

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